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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 DATHAN L. SAUER,                            §
                                             §
        Plaintiff,                           §
                                             §
 v.                                          §          Case No. 4:19-cv-01573
                                             §
 SRA ASSOCIATES,                             §
                                             §
        Defendant.                           §


                STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Dathan L. Sauer, and

Defendant, Ceteris Portfolio Services, LLC d/b/a SRA Associates, hereby stipulate to the

dismissal of the above-styled case and any claims that were raised or that could have been

raised in this action be dismissed with prejudice, and with each side to bear its own costs

and attorneys’ fees.

Respectfully Submitted,

/s/ Omar T. Sulaiman                             /s/ Whitney L. White
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